
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0624-12




									


KELLY PATRICK AMOS, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE ELEVENTH COURT OF APPEALS


MIDLAND  COUNTY





		Per curiam.  Keasler and HERVEY, JJ., dissent.


ORDER 



		The petition for discretionary review violates Rule of Appellate Procedure
9.3(b) because the original petition is not accompanied by 11 copies.

		The petition is struck.  See Rule of Appellate Procedure 68.6.

		The petitioner may redraw the petition.  The redrawn petition and copies must
be filed in the Court of Criminal Appeals within thirty days after the date of this order.

			

Filed June 13, 2012

Do not publish

	


